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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISIC)N
UNITED STATES OF AMERICA
v. No. 4118-l\/IJ-l65
KYLE EDWARD D’AQUILLA (Ol)

JOINT l\/IOTION TO EXTEND TIME TO INDICT

The government, joined by defendant Kyle Edward D’Aquilla, files this Joint
l\/lotion to Extend Time to Indict:
l. On l\/larch l4, 2018, a criminal complaint Was filed against the defendant alleging
possess With intent to distribute methamphetamine, in violation of 2l U.S.C. § 84l(a)(l)
and (b)(l)(B). The defendant appeared before this Court on l\/lay lO, 2018. The
government moved to detain the defendant at his initial appearance The defendant
vvaived his detention hearing, but requested a preliminary hearing On May 15, 2018, the
defendant Waived his preliminary hearing; The Court found that probable cause existed to
believe that the defendant committed the charged offense, and that the defendant should
be detained pending further proceedings
2. Under the Speedy Trial Act, an indictment must be returned on the instant charge
Within thirty days from the date on Which such [defendant] Was arrested . . . in connection
With such charges. 18 U.S.C. § 3l6l(b).
3. The parties request the Court to extend the time in Which an indictment must be

returned until July lO, 2018. This Would be an extension of approximately 26 days.

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The 30th day Would fall on or about June 15, 2018, not counting excludable time under
18 U.S.C. § 3161(h).
4. The reasons for the request are set forth beloW:

a. The parties are in the process of discovery and plea negotiations
This process Will likely impact the charges presented to the grand jury.

b. Granting an extension of time to indict vvould be in the interest of
judicial economy. If the thirty-day time period is extended, it i_s
possible that a plea agreement can be reached, thus negating the need
to indict.
5_. The parties believe that such an extension Would serve the ends of justice and
outweigh the best interest of the public in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A).
The parties submit that the request is not made in an effort to unduly delay the

proceedings ; but rather to insure that justice is achieved.

6. Both the government and the defendant join in this request.

Respectfully Submitted,

ERIN NEALY COX
UYED/ STATES ATTORNEY

 

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CERTIFICATE OF CONFERENCE

l hereby certify that l conferred With Jaidee Serrano, counsel for defendant and she
communicated on behalf of her client that this motion is unopposed

F/- /»/
CHklsToiSHER R. WoLFE
Assistant United States Attorney

CERTIFICATE OF SERVICE

l certify that a true and correct copy of the above pleading Was served upon
counsel for the defendant in accordance vvith the provisions of Rule 49 of the Federal

Rules of Criminal Procedure on the Zz,f’d/ay of May 2018.

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crifusToPHER R. WoLFE
Assistant United States Attorney

CONCURRENCE BY DEFENDANT

l, Kyle EdWard D’Aquilla, having been informed of my right to be indicted Within
30 days of the filing of the Criminal Complaint and after consultation vvith my attorney,
knowingly and voluntarily Waive my right to be indicted Within 30 days of the filing of
the Criminal Complaint, join in this motion, and request that the Court grant the
indict pursuant to 18 U.S.C. § 3161.

/ M %C/
/ E EDWARD D’AQUILLA JAl EE S N
Defendant Att rney forD fe dant

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